Case 9:20-md-02924-RLR Document 1620 Entered on FLSD Docket 08/26/2020 Page 1 of 5



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


    IN RE: ZANTAC (RANITIDINE)                                                     MDL NO. 2924
    PRODUCTS LIABILITY                                                              20-MD-2924
    LITIGATION
                                                            JUDGE ROBIN L. ROSENBERG
                                                   MAGISTRATE JUDGE BRUCE E. REINHART

    _______________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                                      PRETRIAL ORDER # 41
                                 Protocol For In Extremis Depositions

          Plaintiffs in the personal injury cases in these proceedings have alleged that they suffer

   from cancer. Should counsel for any party become aware that a Plaintiff’s health has deteriorated

   to the point that his/her competency or survival is at risk, they may arrange to preserve testimony

   using the procedures set forth in this Order.

   A.     SCOPE OF THIS ORDER

          This Order shall apply to all cases in which Plaintiffs allege personal injury that are

   currently pending in MDL No. 2924 and to all such related actions that have been or will be

   originally filed in, transferred to, or removed to this Court and assigned hereto as “MDL” cases

   (collectively, “the MDL proceedings”). This Order is binding on all parties and their counsel in

   all cases currently pending or subsequently made part of these proceedings and shall govern each

   case in these MDL proceedings. In the event that a Census Registry Claimant believes that it is

   necessary to preserve his/her testimony, Lead Counsel shall meet and confer regarding the issue.

   This Order is not intended to interfere with, undermine, or contradict the procedures established

   in Rule 27(a) of the Federal Rules of Civil Procedure.
Case 9:20-md-02924-RLR Document 1620 Entered on FLSD Docket 08/26/2020 Page 2 of 5



   B.      IN EXTREMIS

           This Court intends to ensure that all parties are given a fair opportunity to take perpetuation

   or preservation deposition testimony where it is reasonably practicable to do so. For purposes of

   this Order, a Plaintiff will be considered “in extremis” when, based on medical evidence or

   affidavits by a physician or the Plaintiff, he/she:

                  •   Has reached, or is expected to reach within the next six (6) months, the state or
                      condition of being no longer capable of testifying competently in a deposition; or

                  •   Is not expected to survive beyond the next twelve months.

   C.      NOTICE

           Counsel shall give notice to opposing Lead Counsel as soon as possible upon learning of a

   Plaintiff's in extremis condition. The notice must be made in writing with a certification by

   noticing counsel as to the nature of the Plaintiff’s in extremis condition. The notice shall be

   accompanied by a letter from the treating physician or an affidavit signed by the Plaintiff briefly

   describing the condition and the medical circumstances necessitating an expedited preservation

   deposition. The notice also shall contain a suggested date, time, and location for the Plaintiff’s

   in extremis deposition, which will serve as the starting point for negotiations between counsel for

   the parties.

   D.      SCHEDULING

           Upon receiving notice of a Plaintiff’s in extremis condition and competency to testify, the

   parties shall meet and confer in good faith to confirm the date, time, and location of the deposition.

   Counsel who elects to take the deposition shall be responsible for securing and providing a court

   reporter and, if desired, a videographer for the deposition.




                                                         2
Case 9:20-md-02924-RLR Document 1620 Entered on FLSD Docket 08/26/2020 Page 3 of 5



   E.       OBJECTIONS

            1.       If Plaintiff’s counsel follows the procedures set forth in this Order, Plaintiff’s

   counsel need not notice an emergency hearing in order to proceed with a Plaintiff’s in extremis

   deposition. Should the non-noticing party have a good faith objection to the deposition, however,

   counsel shall notify opposing counsel in writing of their objection within seven (7) days of receipt

   of the notice and shall promptly meet and confer in good faith in an attempt to resolve the dispute.

            2.       If the parties are unable to resolve the dispute after meeting and conferring, any

   objection(s) shall be brought to the Court’s attention as soon as practicable, but, in any event, no

   more than fourteen (14) days following receipt of the notice. If the objection(s) are overruled, the

   deposition shall proceed at a date, time, and location mutually agreed upon by the parties.

   F.       PROCEDURES

            1.       The following must be provided to defense counsel at least thirty (30) days 1 before

   the in extremis deposition:

                 a. Any available medical records within Plaintiff’s possession not already produced

                     to Defendants;

                 b. Any available records within Plaintiff’s possession relating to damages claims;

                 c. A completed version of any Plaintiff Fact Sheet, standard interrogatories, or other

                     written discovery that Plaintiffs are required to produce in this litigation, including

                     any documents required to be produced therewith, if not already provided to

                     Defendants; and




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    It is recognized by the parties that there are circumstances where a Plaintiff’s medical condition may warrant a more
   expedited schedule than is contemplated herein. In these instances, the parties shall agree on a mutually convenient
   date as soon as possible after such notice.

                                                             3
Case 9:20-md-02924-RLR Document 1620 Entered on FLSD Docket 08/26/2020 Page 4 of 5



                    d. Executed records authorizations and documents required by any Order in this

                       litigation or by any of Plaintiff’s medical providers.

               2.      Upon Defendant’s request, a discovery deposition may be conducted at the time

   that a trial preservation deposition is taken. If a discovery deposition is noticed, it shall occur the

   day before the trial preservation deposition, or at some other time prior to the in extremis deposition

   to which the parties mutually agree. The discovery deposition is limited to five (5) hours on the

   record. The in extremis deposition is limited to five (5) hours on the record, and the time is to be

   split by the parties 50/50. If a Plaintiff is unable to physically sit for the full duration of the allotted

   time for the deposition, the parties will meet and confer in advance of the deposition and agree to

   split the time 50/50.

               3.      If a Plaintiff terminates an in extremis deposition before Defendants have

   completed the cross-examination, the parties will meet and confer regarding the continuation of

   the cross-examination at a later date. If the deposition terminates due to a Plaintiff’s inability to

   physically continue and/or deteriorating medical condition, and the Plaintiff is unable to complete

   the deposition at a later date, the parties will meet and confer regarding the use of the deposition

   at trial.

               4.      Notwithstanding the fact that the discovery deposition will occur prior to the

   in extremis deposition, should the case proceed to trial and should the Plaintiff wish to play any

   portion of the in extremis deposition during his/her case-in-chief, the discovery deposition may

   not be played to the jury prior to the in extremis deposition. Nothing in this Order is intended to

   limit a Defendant’s ability to present any portion of the discovery or in extremis deposition in its

   case-in-chief, nor to request that any portion of either deposition be presented during the Plaintiff’s

   case-in-chief following the presentation of the in extremis deposition.



                                                         4
Case 9:20-md-02924-RLR Document 1620 Entered on FLSD Docket 08/26/2020 Page 5 of 5



          5.       If Defendants seek to take a subsequent deposition of a Plaintiff prior to trial in the

   event that a Plaintiff’s condition or prognosis improves subsequent to an in extremis deposition,

   the parties shall meet and confer on the necessity and scope of any additional deposition testimony

   and any objections thereto.

   G.     ASSISTANCE

          This Court is aware of, and sensitive to, the emotional difficulties that attend circumstances

   such as those discussed in this Order and does not intend to force counsel to exacerbate those

   difficulties. In the event that counsel finds that the terms of this Order create insurmountable

   barriers to proceeding as this Court expects, counsel are encouraged to contact this Court for

   assistance in achieving the goals described herein.

          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 26th day of

   August, 2020.


                                                  ______________________________________
                                                   ROBIN L. ROSENBERG
                                                   UNITED STATES DISTRICT JUDGE




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